      Case 1:24-cv-04056-JMF          Document 1    Filed 05/28/24   Page 1 of 32




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DAVID FINKELSTEIN, Individually and           Civil Action No.
 on Behalf of All Others Similarly Situated,
                                               CLASS ACTION
               Plaintiffs,
                                               COMPLAINT FOR VIOLATION OF
         v.                                    THE FEDERAL SECURITIES LAWS
 ANDREW FOX, LEAH SCHWELLER,
 and CRAIG DENSON                              DEMAND FOR JURY TRIAL
               Defendants.
       Case 1:24-cv-04056-JMF           Document 1        Filed 05/28/24      Page 2 of 32




       Plaintiff, David Finkelstein (“Plaintiff”), individually and on behalf of all others similarly

situated, alleges the following based upon the investigation of Plaintiff’s counsel, which included

a review and analysis of, inter alia, U.S. Securities and Exchange Commission (“SEC”) filings by

Charge Enterprises, Inc. (“Charge” or the “Company”), Charge’s press releases and public

statements, Charge’s earnings call transcripts and presentations, media reports concerning Charge,

documents publicly filed in Charge Enterprises, Inc. v. Kenneth Adam Orr et al., Index No.

650109/2024 (Sup. Ct. N.Y. County), and other publicly available documents concerning Charge.

Plaintiff believes that substantial additional evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.

                                    NATURE OF THE ACTION

       1.      This is a securities fraud class action brought on behalf of all purchasers of Charge

common stock between December 15, 2021 and February 28, 2024, both dates inclusive (the

“Class Period”), seeking to pursue remedies under the Securities Exchange Act of 1934

(“Exchange Act”). The claims herein are asserted against certain of the past and present senior

officers and directors of Charge.

                                 JURISDICTION AND VENUE

       2.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act, 15 U.S.C. §§ 78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder, 17

C.F.R. § 240.10b-5.

       3.      This Court has jurisdiction over the subject matter of this action pursuant to Section

27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331.

       4.      Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

U.S.C. § 1391. Many of the acts giving rise to the violations complained of herein, including the




                                                 2
        Case 1:24-cv-04056-JMF          Document 1       Filed 05/28/24      Page 3 of 32




dissemination of false and misleading information, occurred in this District. Charge has its

principal place of business in this District and Defendants committed tortious acts and transacted

business in this District.

        5.      In connection with the acts, transactions and conduct alleged herein, Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce, including, but

not limited to, the United States mails, interstate telephone communications and the facilities of a

national securities exchange and market.

                                            PARTIES

        6.      Plaintiff David Finkelstein purchased Charge common stock during the relevant

period, as set forth in the accompanying certification incorporated herein by reference, and has

been damaged thereby.

        7.      Defendant Andrew Fox served as the Chief Executive Officer (“CEO”) of Charge

between October 2020 and August 2023. Fox has served as a member of the Charge Board of

Directors since October 2020, and served as its Chairman between September 2021 and August

2023.

        8.      Defendant Leah Schweller served as the Chief Financial Officer (“CFO”) of Charge

since September 2021 until Charge’s restructuring.

        9.      Defendant Craig Denson served as the Interim CEO of Charge since August 2023,

the Chief Operating Officer of Charge since October 2020, and as a member of the Charge Board

of Directors since October 2020.

        10.     Each of the Defendants was directly involved in the management or oversight of

Charge at the highest levels and was privy to confidential information concerning the Company

and its financial condition, risk factors, liquidity, and present and future business prospects, as




                                                 3
           Case 1:24-cv-04056-JMF       Document 1       Filed 05/28/24      Page 4 of 32




alleged herein. In addition, the Defendants were involved in drafting, producing, reviewing, and/or

disseminating the false and misleading statements and information alleged herein, were aware of,

or recklessly disregarded, the false and misleading statements being issued regarding the

Company, and approved or ratified these statements, in violation of the federal securities laws.

       11.      As officers, directors, and controlling persons of a publicly held company whose

securities are registered with the SEC pursuant to the Exchange Act and traded on NASDAQ,

which is governed by the provisions of the federal securities laws, the Defendants each had a duty

to promptly disseminate accurate and truthful information with respect to the Company’s financial

condition, risk factors, liquidity, and present and future business prospects. In addition, the

Defendants had a duty to correct any previously issued statements that had become materially

misleading or untrue, so that the market price of Charge common stock would be based upon

truthful and accurate information. Defendants’ false and misleading statements and omissions

during the Class Period violated these specific requirements and obligations.

       12.      The Defendants, because of their positions of control and authority as officers

and/or directors of Charge, were able to, and did, control the content of various SEC filings, press

releases, and other public statements pertaining to the Company during the Class Period. Each

Defendant was provided with copies of the documents alleged herein to be misleading shortly

before or after their issuance, and had the opportunity to prevent their issuance or cause them to

be corrected. Accordingly, each Defendant was responsible for the accuracy of the public

statements detailed herein and is, therefore, primarily liable for the representations contained

therein.




                                                 4
       Case 1:24-cv-04056-JMF          Document 1       Filed 05/28/24     Page 5 of 32




                                    RELEVANT NONPARTIES

       13.    Nonparty Charge is an electrical, broadband, and EV charging infrastructure

company. Charge is a Delaware corporation with its principal place of business in New York,

New York. Before its delisting, Charge common stock traded under the ticker symbol “CRGE”

on the NASDAQ exchange. On May 3, 2024, Charge terminated the registration of its common

stock. Charge’s common stock was effectively cancelled by the confirmation of its bankruptcy

plan, and as of May 6, 2024, traded under $0.01 per share.

       14.    Nonparty KORR Acquisitions Group, Inc. (“KORR Acquisitions”) is a registered

investment advisor and is incorporated under the laws of the State of New York. KORR

Acquisitions is controlled by Nonparty Kenneth Orr and Nonparty Cori Joy Orr.             KORR

Acquisitions provided investment advisory services to Charge since at least the fourth quarter of

2020 until November 2023.

       15.    Nonparty KORR Value, L.P. (“KORR Value”) is a limited partnership formed

under the laws of the State of Delaware. Nonparty KORR Acquisitions is the general partner of

KORR Value.

       16.    Nonparty Kenneth Orr is the founder of the companies that eventually became

Charge. Orr was the controlling shareholder of Charge and served as its CFO and Chairman of its

Board of Directors until September 2021. Orr is the principal operating officer of KORR

Acquisitions and has the sole and dispositive power over shares held by KORR Acquisitions.

                                       BACKGROUND

       17.    Charge is an electrical, broadband, and electric vehicle (“EV”) charging

infrastructure company. Its business, including through its various subsidiaries, has two primary

segments: infrastructure, which has a focus on EV charging stations and wireless network




                                               5
        Case 1:24-cv-04056-JMF             Document 1       Filed 05/28/24     Page 6 of 32




communications; and telecommunications, which provides connections for voice calls and data to

global carriers.

        18.        However, the events that give rise to this Class Action are not connected to

Charge’s primary business ventures or revenue streams, but rather stem from reckless oversight of

Charge’s capital and materially misleading statements and omissions in connection therewith.

        19.        Charge Enterprises initially incorporated under the name “E-Education Network,

Inc.” in 2003 and changed its name to GoIP Global Inc. (“GoIP Global”) in 2005. In April 2020,

GoIP Global acquired Transworld Holdings, Inc. In August 2020, GoIP Global changed its name

to Transworld Holdings, Inc. In January 2021, Transworld Holdings, Inc. changed its name to

Charge Enterprises, Inc.

        20.        Following this series of corporate transactions, Charge was uplisted with the

NASDAQ Stock Exchange on April 12, 2022 with the ticker symbol “CRGE.”

        21.        Since at least the fourth quarter of 2020, Charge and its predecessor entities have

employed KORR Acquisitions, a registered investment advisor controlled by Orr and Cori Joy

Orr, to manage certain of its investments and excess liquidity.

        22.        On June 19, 2020, GoIP Global disclosed that it “intends to engage KORR

Acquisitions Group, Inc. as a consultant to provide certain consulting and advisory services to

GOIP for fees to be agreed upon. Kenneth Orr, Director, President and Chief Financial Officer of

[GoIP], is Principal Operating Officer of KORR Acquisitions Group, Inc. KORR Acquisitions

Group, Inc. is managing member of KORR Value, LP.”

        23.        During the fourth quarter of 2020, GoIP Global and KORR Acquisitions entered

into what Charge described as an “informal at-will arrangement” under which the Company

entrusted KORR Acquisitions to “provide investment advisory services on an as-needed basis”




                                                    6
       Case 1:24-cv-04056-JMF             Document 1     Filed 05/28/24      Page 7 of 32




(the “Informal Arrangement”). Specifically, Charge granted KORR Acquisitions “discretionary

authority, without prior consultation with the Company, to buy, sell, trade and allocate in and

among stocks, bonds and other securities and/or contracts relating to the same,” on an “as-needed

basis.” The Company stated that the value of the assets it invested with KORR Acquisitions under

the Informal Arrangement “shall not exceed 20% of the Company’s total assets.”

       24.     On December 15, 2021, before Charge was uplisted to NASDAQ and while its

common stock was still trading over the counter, the Company’s registration statement (filed on

December 10, 2021 on Form S-1), became effective. The Registration Statement described the

Informal Arrangement as an “at-will” agreement for KORR Acquisitions to invest in “marketable

securities” on the Company’s behalf. The Registration Statement reiterated that the investments

were limited to “20% of our assets, and of that, less than 5% in illiquid assets,” and stressed that

“[w]e continuously monitor and review the value of our investments, including, but not limited to

conducting a mark-to-market valuation of our investments on a weekly basis, and, if ever we

exceed 20%, we will liquidate marketable securities to stay within our intended maximum

investment of 20% of our total assets.”

       25.     Before its uplisting on NASDAQ, Orr was the single largest stockholder in Charge,

controlling more than eighty percent of the Company. However, in connection with that uplisting,

NASDAQ and the SEC raised a number of questions regarding Orr’s involvement with Charge,

particularly his having a majority ownership in the Company, his position as the Chairman of the

Board of Directors, and the Informal Arrangement with the Company.

       26.     Given NASDAQ and the SEC’s concerns, Orr accordingly divested his interest in

Charge to less than ten percent beneficial ownership of the Company, and stepped down as the

Chairman of the Board of Directors effective September 14, 2021.




                                                 7
       Case 1:24-cv-04056-JMF           Document 1       Filed 05/28/24      Page 8 of 32




       27.     Charge and KORR Acquisitions operated under the Informal Arrangement until

June 2022, at which time they entered into a written Special Advisor Agreement whereby KORR

Acquisitions agreed to “manage the Company’s investment account” in exchange for a $500,000

up-front payment and a monthly payment of $25,000. The agreement had a term of 1 year.

       28.     In early to mid-2023, Charge informed Orr that it would require the return of certain

Company funds to satisfy certain Company liabilities that were to come due and payable on in

November 2023. Specifically, in April 2023, Denson informed Orr that the Company would

require the complete return of its invested funds by November 1, 2023 to address (1) certain

accounts payable of its subsidiary, PTGi International Carrier Services, Inc., and (2) the

outstanding debt due to its senior lender, Arena Investors, LP (“Arena”).

       29.     Charge’s obligations to Arena, which were to become due and payable on

November 19, 2023, were structured under two securities purchase agreements (the “Arena

Notes”). In total, Charge had an outstanding principal balance of $27.8 million due under the

Arena Notes. In addition, Charge had a number of other outstanding debt obligations under other

loan agreements that, while not immediately due in November 2023, contained cross-default

provisions.

       30.     Between May and November of 2023, Charge communicated frequently with Orr

about the need for Orr and KORR Acquisitions to return the funds the Company had invested with

KORR Acquisitions to enable the Company to satisfy its various debt obligations.

       31.     In May 2023, Denson emailed Orr requesting the full withdrawal of Charge

investments held by KORR Acquisitions.




                                                 8
       Case 1:24-cv-04056-JMF           Document 1      Filed 05/28/24     Page 9 of 32




       32.     Orr and KORR Acquisitions did not return the funds as requested to do so in May.

Schweller emailed Orr on July 25, 2023 requesting the immediate return of $10 million from the

Company’s investment accounts.

       33.     Despite its previous requests for the return of Company funds, as of August 22,

2023, Charge still had $14 million invested with and under the management and control of KORR

Acquisitions. On that date, Denson again communicated with Orr about a schedule for Orr and

KORR Acquisitions to return the Company’s invested capital. Under the drawdown schedule

devised that day, Orr was to return to Charge $3 million by the first week of September 2023, $3

million between September 15-30, 2023, $6 million between October 15-30, 2023, and the

remainder between November 1-10, 2023. None of this – including that prior requests had been

made and ignored, nor the drawdown schedule – was disclosed to investors.

       34.     Orr and KORR Acquisitions failed to abide by this drawdown schedule. Despite

agreeing to return a total of $6 million in September, Orr and KORR Acquisitions had only

returned $2.25 million by the end of that month. Further, and despite their agreement to return $6

million in October, Orr and KORR Acquisitions only returned $1.75 million of Company funds in

October 2023. Thus, by the end of October, and despite agreeing to return $12 million of Company

funds by the end of October, Orr and KORR Acquisitions had only returned $4 million.

       35.     On November 1, 2023, Denson emailed Orr, reminding him that Charge’s “loan

with Arena is due this month . . . we need the Charge money returned ASAP this week.” Orr did

not respond to this email in writing.

       36.     On November 2, 2023, Denson and Orr spoke on the phone to discuss Orr and

KORR Acquisitions’ failure to adhere to the original drawdown schedule. On that call, Orr

proposed a revised drawdown schedule, offering to return $1 million by the end of the day, $3




                                                9
       Case 1:24-cv-04056-JMF          Document 1        Filed 05/28/24     Page 10 of 32




million on November 6, $3 million on November 14, and the remainder by the “end of 2023, or

perhaps in 2024.”

       37.     On November 3, 2023, Denson reiterated to Orr the need for an expeditious return

of the funds, and that Charge was experiencing financial harm as a result of Orr’s failure to return

the funds, which could impact the Company’s ability to continue as a going concern. That same

day, Denson and Orr discussed a third drawdown schedule: $1 million on November 3, $3 million

early in the week of November 6, and $6.75 million by November 13 or 14. Defendants did not

cause Charge to inform investors of these developments either.

       38.     Despite the various drawdown agreements, Orr only returned $800,000 on

November 3, and $200,000 on November 6.

       39.     Thus, by early November, 2023, after months of failing to receive the requested

Company funds from Orr and KORR Acquisitions, Defendants knew that Charge was facing

serious undisclosed liquidity problems. As Denson reminded Orr, these funds were “critical to

[Charge’s] liquidity,” despite the Company’s representation several weeks prior that it had more

than $51,000,000 in cash and cash equivalents. Defendants therefore knew and understood that,

if Orr and KORR Acquisitions failed to return the Company funds as requested, a default on the

Arena Notes was nearly certain, and that this would lead to an “imminent cascade of negative

consequences,” namely, the invocation of cross-default provisions in the Company’s other debt

instruments.

       40.     But, as described below in further detail, Defendants continued to paint a rosy

picture of Charge’s financial condition throughout the fall of 2023, despite knowledge that the

funds held by KORR Acquisitions were “critical” to the Company’s liquidity. In fact, as late as




                                                10
       Case 1:24-cv-04056-JMF            Document 1        Filed 05/28/24      Page 11 of 32




November 8, 2023, Charge expressed its expectation “to have sufficient resources to meet [its]

current operating liquidity and capital requirements for the next 12 months.”

       41.       The situation came to a head on November 13, 2023, when Orr advised Biehl that

the Company’s funds were invested in KORR Value, a limited partnership whose General Partner

is KORR Acquisitions. And, as Orr advised Biehl, the terms of the KORR Value Limited

Partnership Agreement, dated May 9, 2020, make Charge a limited partner in KORR Value and

grant to KORR Acquisitions, as General Partner, the “sole and absolute” right to limit redemptions

of limited partnership interests.      In accordance with KORR Value’s Limited Partnership

Agreement, Orr informed Charge that KORR Acquisitions would be unable to return the requested

funds because they were “cross-collateralized” with other accounts and that those accounts were

“under water.”

       42.       Charge first informed the market of the dire situation it faced on November 21,

2023 in a Form 8-K filed with the SEC. Despite its announcement that it had more than

$51,000,000 in cash several weeks prior, the Company stated that it had received a default notice

from Arena, and announced that its prior belief that it had “approximately $9.9 million of Company

assets . . . in the form of cash, cash equivalents, marketable securities or similar readily liquid

assets” was false; instead, these funds had actually been invested in KORR Value and were thus

“not immediately able to be liquidated or readily accessible.” The Company further warned that

if it “continues not to have sufficient liquidity to pay the principal and interest on the [Arena] Notes

. . . these circumstances could result in a default under other of the Company’s debt instruments

and agreements that contain cross-default provisions.” As the Company explained, this situation

would likely “have a material adverse effect on the Company’s liquidity, financial condition and




                                                  11
       Case 1:24-cv-04056-JMF          Document 1       Filed 05/28/24      Page 12 of 32




results of operations, and may render the Company insolvent and unable to sustain its operations

and continue as a going concern.”

       43.     On December 6, 2023, in a Form 8-K filed with the SEC, Charge informed the

market that it had received several additional default notices from Arena. The December 6, 2023

8-K further stated that the Company was ceasing the operations of certain of its

telecommunications subsidiaries in an effort to preserve liquidity.

       44.     On January 25, 2024, in a Form 8-K filed with the SEC, Charge informed the

market that the Company had received a foreclosure notice from Arena stating that, to satisfy the

Company’s outstanding indebtedness, Arena would be holding an auction, pursuant to the Uniform

Commercial Code, to liquidate 100 percent of the equity interests in certain Charge subsidiaries at

auction.

       45.     On February 28, 2024, in a Form 8-K filed with the SEC, after months of

restructuring efforts, Charge announced that it had entered into a Restructuring Support Agreement

with two affiliates of Arena, which was to be implemented through the commencement of a

voluntary Chapter 11 case in the U.S. Bankruptcy Court for the District of Delaware.

       46.     On February 29, 2024, NASDAQ suspended trading of Charge common stock.

       47.     On March 7, 2024, Charge filed its voluntary petition for bankruptcy under Chapter

11. See In re Charge Enterprises, Inc., Bankr. Case No. 24-10349 (Bankr. D. Del.).

       48.     During the Class Period, Defendants issued materially false and misleading

statements regarding the nature of Charge’s relationship with KORR Acquisitions, the degree of

control that KORR Acquisitions exercised over Charge assets that were “critical” to the

Company’s liquidity, and the nature of the investments that KORR Acquisitions held on the

Company’s behalf, as well as materially false and misleading statements about the Company’s risk




                                                12
       Case 1:24-cv-04056-JMF           Document 1        Filed 05/28/24       Page 13 of 32




policies, procedures, and compliance oversight functions, exposing the Company and its investors

to substantial losses.

        49.     Plaintiffs therefore bring this action under the federal securities laws to recover the

investment losses they suffered as a result of Defendants’ materially false and misleading

statements and omissions of material fact.

                    MATERIALLY FALSE AND MISLEADING STATEMENTS

        50.     Defendants’ materially false and misleading statements during the Class Period fall

into two categories.     First, Defendants repeatedly misrepresented the nature of Charge’s

relationship with KORR Acquisitions, the degree of control that KORR Acquisitions exercised

over Charge assets that were “critical” to the Company’s liquidity, and the nature of the

investments that KORR Acquisitions held on the Company’s behalf.                 Second, Defendants

repeatedly certified the strength and adequacy of Charge’s internal disclosure controls, as they

were required to do under the Sarbanes-Oxley Act (“SOX”), despite clear weaknesses in those

internal disclosure controls, evidenced by the failure of the Company’s relationship with KORR

Acquisitions that led to the Company filing for Chapter 11 bankruptcy protections.

        51.     In addition to those made in various press releases, public statements, and earnings

calls, Charge made a number of materially false and misleading statements in its quarterly and

annual reports filed with the SEC.

        52.     The following table sets forth the relevant filings that Charge made with the SEC

that contain material misstatements or omissions during the Class Period, the date they were filed

with the SEC, which of the Defendants signed those filings, which of the Defendants signed the

SOX certifications accompanying those filings, and how they are referred to throughout this

Complaint:




                                                  13
        Case 1:24-cv-04056-JMF          Document 1         Filed 05/28/24   Page 14 of 32




                                                                  Defendant
                                                                 Signatory to
 Description
                    Date of the       Defendant Signatory            the
   of the                                                                         Abbreviation
                      Filing              to the Filing         Accompanying
   Filing
                                                                    SOX
                                                                Certifications
     S-1                                 Fox; Schweller;
                   December 15,                                                    “Registration
 Registration                               Denson                   N/A
                      2021                                                          Statement”
  Statement
                                         Fox; Schweller;             Fox;
 Form 10-K        March 29, 2022                                                   “202110-K”
                                            Denson                 Schweller
                                         Fox; Schweller              Fox;
 Form 10-Q         May 16, 2022                                                  “1Q2022 10-Q”
                                                                   Schweller
                                          Fox; Schweller             Fox;
 Form 10-Q        August 15, 2022                                                “2Q2022 10-Q”
                                                                   Schweller
                   November 14,           Fox; Schweller             Fox;
 Form 10-Q                                                                       “3Q2022 10-Q”
                      2022                                         Schweller
                                         Fox; Schweller;             Fox;
 Form 10-K        March 15, 2023                                                   “2022 10-K”
                                            Denson                 Schweller
                                         Fox; Schweller              Fox;
 Form 10-Q         May 10, 2023                                                  “1Q2023 10-Q”
                                                                   Schweller
                                          Fox; Schweller             Fox;
 Form 10-Q        August 14, 2023                                                “2Q2023 10-Q”
                                                                   Schweller
                   November 8,          Denson; Schweller           Denson;
 Form 10-Q                                                                       “3Q2023 10-Q”
                      2023                                         Schweller
                   November 8,              Schweller                              “November 8,
  Form 8-K                                                           N/A
                      2023                                                          2023 8-K”
                   November 21,             Schweller                             “November 21,
  Form 8-K                                                           N/A
                      2023                                                          2023 8-K”


   I.         Materially False and Misleading Statements and Omissions About The
              Company’s Relationship with KORR Acquisitions and Financial Condition

        53.      Charge’s false and misleading statements and omissions about its relationship with

KORR Acquisitions, the degree of control that KORR Acquisitions exercised over Company

funds, and the nature of the investments that KORR Acquisitions held on the Company’s behalf

predate Charge’s uplisting on NASDAQ in April 2022.

        54.      The Registration Statement described the Informal Arrangement as “informal” and

“at-will.” Further, it stated that, under the Informal Arrangement, Charge entrusted KORR



                                                 14
       Case 1:24-cv-04056-JMF           Document 1      Filed 05/28/24      Page 15 of 32




Acquisitions to “provide investment advisory services on an as-needed basis.” Specifically,

Charge granted KORR Acquisitions “discretionary authority, without prior consultation with the

Company, to buy, sell, trade and allocate in and among stocks, bonds and other securities and/or

contracts relating to the same,” on an “as-needed basis” “not [to] exceed 20% of the Company’s

total assets.” These statements were materially false and misleading when made because the

relationship was not “at-will,” evidenced by KORR Acquisitions’ failure to return Company funds

in the summer and fall of 2023. Further, it was materially false and misleading to represent that

the Company was pursuing investments in “stocks, bonds and other securities and/or contracts

relating to the same” when, in reality, the Company was invested in an illiquid limited partnership

interest. Finally, it was false and misleading to represent that the Company’s investments with

KORR Acquisitions did not exceed 20 percent of Company assets when those funds were “critical”

to Charge’s liquidity, and the failure to return them proximately caused a default on the Arena

Notes. The market was thus misinformed, beginning on December 15, 2021 (and likely before)

about the fundamental nature of Charge’s risk profile, liquidity, and likelihood of default on the

Arena Notes.

       55.     The 2021 10-K and the 2022 10-K made substantively identical false and

misleading disclosures and omissions.

       56.     The Registration Statement further stated that the investments managed by KORR

Acquisitions were in the form of “marketable securities,” and that management “continuously

monitor[s] and review[s] the value of our investments, including, but not limited to conducting a

mark-to-market valuation of our investments on a weekly basis.”           These statements were

materially false and misleading when made because the Company had been invested in an illiquid

partnership interest since May 9, 2020; illiquid partnership interests are, by definition, not




                                                15
       Case 1:24-cv-04056-JMF           Document 1        Filed 05/28/24      Page 16 of 32




“marketable securities.” It was further materially false and misleading to represent that the

Company “continuously monitors” its investments “on a weekly basis” when it was unaware for

more than three years that it was invested in an illiquid limited partnership interest.

       57.     Charge and KORR Acquisitions operated under the Informal Arrangement until

June 2022, at which time they entered into a formal, written, Special Advisor Agreement whereby

KORR Acquisitions agreed to “manage the Company’s investment account” in exchange for a

$500,000 up-front payment and a monthly payment of $25,000. The Special Advisor Agreement

contained no restrictions on the types of investments that KORR Acquisitions was permitted to

pursue on Charge’s behalf.

       58.     Charge disclosed the existence of the Special Advisor Agreement in its 2Q2022 10-

Q filed on August 15, 2022. The 2Q2022 10-Q omitted to state any of the material terms of the

Special Advisor Agreement, leaving the market to assume that the Special Advisor Agreement did

not materially alter the terms of the Informal Agreement, disclosures surrounding which were, as

explained above, materially false.

       59.       The 3Q2022 10-Q, 2022 10-K, 1Q2023 10-Q, 2Q2023 10-Q, and 3Q2023 10-Q

made substantively identical, misleading, and incomplete disclosures.

       60.     As detailed above, in early to mid-2023, Charge informed Orr that it would require

the return of Company funds invested with KORR Acquisitions to satisfy certain Company

liabilities that were to come due in November 2023, including the Arena Notes. Defendants knew

and understood that, if Orr and KORR Acquisitions failed to return the Company funds as

requested, a default on the Arena Notes was nearly certain, and that it would lead to an “imminent

cascade of negative consequences,” namely, the invocation of cross-default provisions in the

Company’s other debt instruments. Accordingly, between August and November of 2023, Charge




                                                 16
       Case 1:24-cv-04056-JMF           Document 1        Filed 05/28/24      Page 17 of 32




and Orr agreed upon several drawdown schedules for the return of Company funds from KORR

Acquisitions. But Orr and KORR Acquisitions never lived up to any of these drawdown schedules,

a fact of which Defendants were keenly aware. But as the November 19, 2023 maturity date of

the Arena Notes rapidly approached in September and October 2023, Charge never informed the

market of the difficulties it was experiencing in having Orr and KORR Acquisitions return the

funds, despite Charge’s recognition that they were “critical” to its liquidity and ability to continue

as a going concern. Despite his various agreements, Orr returned only a fraction of the Company

funds held by KORR Acquisitions.

       61.     The 3Q2023 10-Q omitted to mention the difficulties the Company faced in seeking

the return of its funds from Orr and KORR Acquisitions, nor any possibility of default on the

Arena Notes. Instead, the Company continued to paint a rosy picture of its financial condition and

future prospects, as it claimed to have more than $51,000,000 in cash on hand. In fact, in its

Management Discussion and Analysis (“MD&A”), Charge stated that it “expect[s] to have

sufficient resources to meet [Charge’s] current operating liquidity and capital requirements for

the next 12 months, including after accounting for the repayment of the $27.8 million that comes

due and payable under the [Arena] Notes on November 19, 2023.” Further, when describing the

Company’s investment of excess liquidity, the MD&A noted management’s belief that the

Company did not have “any material exposure” with respect to its invested assets. These

statements were materially false and misleading when made because Charge management knew,

at the very latest on November 3, 2023 – but likely earlier – that the Company was facing a serious

liquidity crisis and risk of default under the Arena Notes on account of Orr and KORR

Acquisitions’ failure to return the Company funds.




                                                 17
       Case 1:24-cv-04056-JMF           Document 1        Filed 05/28/24      Page 18 of 32




       62.     Also on November 8, 2023, and despite knowledge of Orr and KORR Acquisitions’

failure to return the Company funds, Charge noted in the November 8, 2023 Form 8-K that it was

“well underway in strategic planning for the future[.]” This filing, too, made no mention of Orr

and KORR Acquisitions’ failure to return the funds, and was thus materially false and misleading.

       63.     That same day, following Charge’s release of its quarterly earnings in the 3Q2023

10-Q, Charge held an earnings call, where Denson and Schweller answered a number of analyst

questions. In response to a question from an H.C. Wainwright analyst about the Company’s

balance sheet, Schweller stated that the Company was “managing [its] balance sheets and . . . [has]

the proper liquidity to meet [its] operational needs and service [its] debt.” Additionally, in

response to a question from an Alliance Global Partners analyst about the Company’s near-term

debt maturity, Denson stated that Charge was “on track to fully pay the outstanding notes which

have an aggregate face value of $27.8 million on or before the maturity date of November 19,

2023.” These statements were materially false and misleading when made because Charge

management knew, at the very latest on November 3, 2023 – but likely earlier – that it faced a

serious risk of default under the Arena Notes on account of Orr and KORR Acquisitions’ failure

to return the Company funds.

       64.     Charge did not inform the market of the dire situation it faced until it issued the

November 21, 2023 8-K. Despite its announcement that it had more than $51,000,000 in cash on

hand several weeks prior, the Company stated that it had received a default notice from Arena, and

announced that its prior belief that it had “approximately $9.9 million of Company assets . . . in

the form of cash, cash equivalents, marketable securities or similar readily liquid assets” was false;

instead, these funds had actually been invested in KORR Value and were thus “not immediately

able to be liquidated or readily accessible.” The Company further warned that if it “continues not




                                                 18
         Case 1:24-cv-04056-JMF          Document 1       Filed 05/28/24      Page 19 of 32




to have sufficient liquidity to pay the principal and interest on the [Arena] Notes . . . these

circumstances could result in a default under other of the Company’s debt instruments and

agreements that contain cross-default provisions.” As the Company explained, this situation

would likely “have a material adverse effect on the Company’s liquidity, financial condition and

results of operations, and may render the Company insolvent and unable to sustain its operations

and continue as a going concern.”

   II.         Materially False and Misleading Internal Disclosure Control Statements

         65.      Under the regulations and guidance promulgated by the SEC, companies whose

stock is publicly traded in the United States – such as Charge – have important public reporting

and disclosure obligations.

         66.      Public companies are required to file with the SEC certain disclosure documents

containing comprehensive information about their business operations and financial condition.

Investors generally rely on the accuracy and transparency of these disclosures – as well as other

public statements made by the company – when determining whether to invest.

         67.      Public companies like Charge are required to maintain effective disclosure controls

and procedures to ensure compliance with their SEC reporting obligations. Members of the

company’s executive team must be involved in creating and designing these controls and must

personally guarantee their effectiveness.

         68.      Section 404 of SOX requires public companies to publish information in their

annual and quarterly reports concerning the scope and adequacy of their internal control structure

and assess the effectiveness of such internal disclosure controls and procedures.

         69.      Section 302 of SOX requires a public company’s CEO and CFO to provide

certifications concerning their review of, and disclosure of information about, the company’s




                                                  19
      Case 1:24-cv-04056-JMF           Document 1        Filed 05/28/24       Page 20 of 32




internal controls. Specifically, pursuant to rules promulgated by the SEC to implement Section

302 of SOX, the CEO and CFO are required to certify in each periodic report that:

                 he or she has reviewed the report;
                 based on his or her knowledge, the report does not contain any
                  untrue statement of a material fact or omit to state a material fact
                  necessary in order to make the statements made, in light of the
                  circumstances under which such statements were made, not
                  misleading with respect to the period covered by the report;
                 he or she and the other certifying officers:
                  o are responsible for establishing and maintaining “disclosure
                    controls and procedures” [i.e., controls and other procedures
                    of an issuer that are designed to ensure that information
                    required to be disclosed by the issuer in the reports filed or
                    submitted by it under the Exchange Act is recorded,
                    processed, summarized and reported, within the time periods
                    specified in the SEC’s rules and forms] for the issuer;
                  o have designed such disclosure controls and procedures to
                    ensure that material information is made known to them,
                    particularly during the period in which the periodic report is
                    being prepared;
                  o have evaluated the effectiveness of the issuer’s disclosure
                    controls and procedures as of a date within 90 days prior to
                    the filing date of the report; and
                  o have presented in the report their conclusions about the
                    effectiveness of the disclosure controls and procedures based
                    on the required evaluation as of that date;
                 he or she and the other certifying officers have disclosed to the
                  issuer’s auditors and to the audit committee of the board of
                  directors (or persons fulfilling the equivalent function):
                  o any fraud, whether or not material, that involves
                    management or other employees who have a significant role
                    in the issuer’s internal controls; and
                 he or she and the other certifying officers have indicated in the
                  report whether or not there were significant changes in internal
                  controls or in other factors that could significantly affect internal
                  controls subsequent to the date of their evaluation, including any


                                                 20
       Case 1:24-cv-04056-JMF           Document 1       Filed 05/28/24      Page 21 of 32




                   corrective actions with regard to significant deficiencies and
                   material weaknesses.
Certification of Disclosure in Companies’ Quarterly and Annual Reports, Exchange Act Release

34-46427, § II.A (Aug. 29, 2002) (footnotes omitted).

       70.     Throughout the Class Period, Defendants repeatedly and falsely certified to

investors that they had established effective internal disclosure controls and procedures for Charge.

As set forth above, some combination of Defendants Fox, Schweller, and Denson provided these

disclosure control certifications in the 2021 10-K, 1Q2022 10-Q, 2Q2022 10-Q, 3Q2022 10-Q,

2022 10-K, 1Q2023 10-Q, 2Q2023 10-Q, and 3Q2023 10-Q.

       71.     In the 2021 10-K, for example, Charge, through Fox and Schweller, stated:

       Our disclosure controls and procedures are designed to ensure that information we
       are required to disclose in reports that we file or submit under the Securities
       Exchange Act of 1934, as amended (the “Exchange Act”) is recorded, processed,
       summarized, and reported within the time periods specified in SEC rules and forms,
       and that such information is accumulated and communicated to our management,
       including our Chief Executive Officer and Chief Financial Officer, as appropriate,
       to allow timely decisions regarding required disclosure.

       Our management, with the participation and supervision of our Chief Executive
       Officer and our Chief Financial Officer, have evaluated the effectiveness of our
       disclosure controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e)
       under the Exchange Act) as of the end of the period covered by this Annual Report
       on Form 10-K. Based on such evaluation, our Chief Executive Officer and Chief
       Financial Officer have concluded that as of such date, our disclosure controls and
       procedures were, in design and operation, effective at a reasonable assurance level.

       72.     Charge made substantively identical disclosures in the 1Q2022 10-Q, 2Q2022 10-

Q, 3Q2022 10-Q, 2022 10-K, 1Q2023 10-Q, 2Q2023 10-Q, and 3Q2023 10-Q.

       73.     Along with certain of Charge’s SEC filings, some combination of Fox, Schweller,

and Denson provided a certification concerning the Company’s internal disclosure controls and

procedures pursuant to Section 302 of SOX. In her certification accompanying the 2021 10-K, for

example, Schweller stated:



                                                 21
Case 1:24-cv-04056-JMF        Document 1        Filed 05/28/24      Page 22 of 32




      1. I have reviewed this Annual Report on Form 10-K of Charge Enterprises, Inc.;

      2. Based on my knowledge, this report does not contain any untrue statement of a
         material fact or omit to state a material fact necessary to make the statements
         made, in light of the circumstances under which such statements were made,
         not misleading with respect to the period covered by this report;

      3. The registrant’s other certifying officer(s) and I are responsible for establishing
         and maintaining disclosure controls and procedures (as defined in Exchange
         Act Rules 13a-15(e) and 15d-15(e)) for the registrant and have:

             (a) Designed such disclosure controls and procedures, or caused such
                 disclosure controls and procedures to be designed under our
                 supervision, to ensure that material information relating to the
                 registrant, including its consolidated subsidiaries, is made known to us
                 by others within those entities, particularly during the period in which
                 this report is being prepared;

             (b) Evaluated the effectiveness of the registrant’s disclosure controls and
                 procedures and presented in this report our conclusions about the
                 effectiveness of the disclosure controls and procedures, as of the end of
                 the period covered by this report based on such evaluation; and

             (d) Disclosed in this report any change in the registrant’s internal control
                 over financial reporting that occurred during the registrant’s fourth
                 fiscal quarter that has materially affected, or is reasonably likely to
                 materially affect, the registrant’s internal control over financial
                 reporting; and

      4. The registrant’s other certifying officer(s) and I have disclosed, based on our
         most recent evaluation of internal control over financial reporting, to the
         registrant’s auditors and the audit committee of the registrant’s board of
         directors (or persons performing the equivalent functions):

             (a) All significant deficiencies and material weaknesses in the design or
                 operation of internal control over financial reporting which are
                 reasonably likely to adversely affect the registrant’s ability to record,
                 process, summarize and report financial information; and

             (b) Any fraud, whether or not material, that involves management or other
                 employees who have a significant role in the registrant’s internal control
                 over financial reporting.




                                       22
       Case 1:24-cv-04056-JMF          Document 1        Filed 05/28/24     Page 23 of 32




       74.     Schweller, along with some combination of Fox and Denson, provided

substantively identical disclosures in the 1Q2022 10-Q, 2Q2022 10-Q, 3Q2022 10-Q, 2022 10-K,

1Q2023 10-Q, 2Q2023 10-Q, and 3Q2023 10-Q.

       75.     These statements were false and misleading when made and failed to state material

facts. It was materially misleading for Defendants to represent that Charge’s internal disclosure

controls and procedures were effective during the Class Period when that was not the case, and

Defendants repeatedly and successfully evaded those controls to perpetrate their fraud. Among

other things, Defendants knew or recklessly disregarded that KORR Acquisitions would not timely

return funds that were “critical” to the Company’s liquidity and ability to continue as a going

concern, and knew or recklessly disregarded that KORR Acquisitions had invested these Company

funds in an illiquid partnership interest. Defendants also knew or recklessly disregarded that, as

of November 2023, KORR Acquisitions’ failure to return these funds virtually guaranteed that

Charge would be unable to service the Arena Notes. Defendants concealed this information until

after Charge received a default notice from Arena. By doing so, Defendants created the false

impression that Charge had sufficient liquidity to service its debt and continue as a going concern.

       76.     Defendants concealed the truth from the market, and Plaintiffs and other members

of the Class suffered losses.

                         SUMMARY OF DEFENDANTS’ SCIENTER

       77.     As alleged herein, Defendants acted with scienter in that Defendants knew, or

recklessly disregarded, that the public documents and statements they issued and disseminated to

the investing public in the name of the Company, or in their own name, during the Class Period

were materially false and misleading. Defendants knowingly and substantially participated or

acquiesced in the issuance or dissemination of such statements and documents as primary




                                                23
       Case 1:24-cv-04056-JMF           Document 1       Filed 05/28/24      Page 24 of 32




violations of the federal securities laws. Defendants, by virtue of their receipt of information

reflecting the true facts regarding Charge, and their control over and/or receipt of Charge’s

allegedly materially misleading statements, were active and culpable participants in the fraudulent

scheme alleged herein.

       78.     Defendants knew and/or recklessly disregarded the false and misleading nature of

the information they caused to be disseminated to the investing public. The fraudulent scheme

described herein could not have been perpetrated during the Class Period without the knowledge

and complicitly of, or at least the reckless disregard by, personnel at the highest levels of the

Company.

       79.     The Defendants, because of their positions with Charge, controlled the contents of

Charge’s public statements during the Class Period. The Defendants were each provided with or

had access to the information alleged herein to be false and/or misleading prior to or shortly after

its issuance and had the ability and opportunity to prevent its issuance or cause it to be corrected.

Because of their positions and access to material, non-public information, Defendants knew or

recklessly disregarded that the adverse facts specified herein had not been disclosed to and were

being concealed from the investing public and that the positive representations that were being

made were false and misleading. As a result, each of the Defendants is responsible for the accuracy

of Charge’s corporate statements and is, therefore, responsible and liable for the representations

contained therein.

                                       LOSS CAUSATION

       80.     During the Class Period, as alleged herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated the prices of Charge common

stock and operated as a fraud or deceit on purchasers of Charge common stock. As detailed above,




                                                 24
      Case 1:24-cv-04056-JMF          Document 1       Filed 05/28/24     Page 25 of 32




when the truth about the Defendants’ misconduct was revealed, the value of Charge common stock

declined precipitously as the prior artificial inflation no longer propped up the price of Charge

common stock. The decline in the price of Charge common stock was the direct result of the

nature and extent of Defendants’ fraud finally being revealed to investors and the market. The

timing and magnitude of the Charge common stock price decline negate any inference that the

losses suffered by Plaintiff and other members of the Class were caused by changed market

conditions, macroeconomic or industry factors, or Company-specific facts unrelated to

Defendants’ fraudulent conduct. The economic loss, i.e., damages, suffered by Plaintiff and other

members of the Class was a direct result of Defendants’ fraudulent scheme to artificially inflate

the prices of Charge common stock and the subsequent decline in the value of Charge common

stock when Defendants’ prior misrepresentations and other fraudulent conduct were revealed.

       81.    At all relevant times, Defendants’ materially false and misleading statements or

omissions alleged herein directly and proximately caused the damages suffered by Plaintiff and

other members of the Class. Those statements were materially false and misleading through their

failure to disclose a true and accurate picture of the nature of Charge’s relationship with KORR

Acquisitions, the degree of control that KORR Acquisitions exercised over Charge assets that were

“critical” to the Company’s liquidity, the nature of the investments that KORR Acquisitions held

on the Company’s behalf, and the sufficiency of the Company’s internal disclosure controls.

       82.    Throughout the Class Period, Defendants issued materially false and misleading

statements and omitted material facts necessary to make Defendants’ statements not false or

misleading, causing the price of Charge common stock to be artificially inflated. Plaintiff and

other Class members purchased Charge common stock at those artificially inflated prices, causing

them to suffer damages as complained of herein.




                                               25
       Case 1:24-cv-04056-JMF           Document 1        Filed 05/28/24      Page 26 of 32




       83.      The primary cause of Charge stock losing all its value and Plaintiff and the Class

sustaining damages therefrom arose from the materialization of the risks inherent in the lack of

effective controls at Charge despite Defendants certifications to the contrary.

       84.      Had the investing public been told the truth that Charge lacked effective financial

and disclosure controls and was placing its working capital in non-marketable securities, lacked

access to that capital, and could not meet loan commitments as a result there would have been no

market for the Company’s stock.

       85.      The Company was, at least from its uplisting to NASDAQ, lacking the fundamental

controls over its own cash that would allow for any truthful statements to be made about its

financial position. The Company’s failure was within the zone of risk the misstatements and

scheme concealed.

                   APPLICABILITY OF PRESUMPTION OF RELIANCE

       86.      Plaintiff and the Class are entitled to a presumption of reliance under Affiliated Ute

Citizens v. United States, 406 U.S. 128 (1972), because the claims asserted herein against

Defendants are predicated upon omissions of material facts for which there was a duty to disclose.

       87.      Plaintiff and the Class are also entitled to a presumption of reliance pursuant to

Basic Inc. v. Levinson, 485 U.S. 224 (1988), and the fraud-on-the-market doctrine because the

market for Charge common stock was an efficient market at all revenant times by virtue of the

following factors, among others:

             (a) Charge common stock met the requirements for listing, and was listed and actively

                traded on NASDAQ, a highly efficient market;

             (b) Charge regularly communicated with public investors via established market

                communication mechanisms, including the regular dissemination of press releases



                                                 26
       Case 1:24-cv-04056-JMF          Document 1        Filed 05/28/24     Page 27 of 32




                on the national circuits of major newswire services and other wide-ranging public

                disclosures, such as communications with the financial press and other similar

                reporting services;

             (c) Charge was followed by a number of securities analysts employed by major

                brokerage firms who wrote reports which were distributed to the sales force and

                certain customers of their respective brokerage firms. These reports were publicly

                available and entered the public marketplace.

       88.      As a result of the foregoing, the market for Charge common stock promptly

incorporated current information regarding the Company from publicly available sources and

reflected such information in the prices of Charge common stock. Under these circumstances, all

those who transacted in Charge common stock during the Class Period suffered similar injury

through their transactions in Charge common stock at artificially inflated prices and a presumption

of reliance applies.

                                      NO SAFE HARBOR

       89.      The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pled in this complaint. None

of the specific statements pled herein were identified as “forward-looking statements.” To the

extent there were any forward-looking statements, there were no meaningful cautionary statements

identifying potential factors that could cause actual results to differ materially from those in the

purportedly forward-looking statements. Alternatively, to the extent that the statutory safe harbor

does apply to any forward-looking statements pled herein, defendants are liable for those forward-

looking statements because at the time each of those forward-looking statements was made, the

particular speak knew or should have known that the particular forward-looking statements was



                                                27
       Case 1:24-cv-04056-JMF              Document 1    Filed 05/28/24      Page 28 of 32




false and/or the forward-looking statements was authorized and/or approved by an executive

officer of Charge who knew that those statements were false when made.

                                FIRST CAUSE OF ACTION
                     Violations of Section 10(b) of the Exchange Act and
               Rule 10b-5(b) Promulgated Thereunder Against All Defendants

       90.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       91.     During the Class Period, Defendants disseminated or approved the false statements

specified above, which they knew or deliberately disregarded were misleading in that they

contained misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.

       92.     Defendants violated § 10(b) of the Exchange Act and Rule 10b-5 in that they:

               (a) employed devices, schemes, and artifices to defraud;

               (b) made untrue statements of material fact or omitted to state material facts

                   necessary in order to make the statements made, in light of the circumstances

                   under which they were made, not misleading; or

               (c) engaged in acts, practices, and a course of business that operated as a fraud or

                   deceit upon Plaintiff and others similarly situated in connection with their

                   purchases of Charge common stock during the Class Period.

       93.     Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

the market, they paid artificially inflated prices for Charge common stock. Plaintiff and the Class

would not have purchased Charge common stock at the prices they paid, or at all, if they had been

aware that the market had been artificially and falsely inflated by Defendants’ false and misleading

statements.


                                                 28
       Case 1:24-cv-04056-JMF              Document 1     Filed 05/28/24       Page 29 of 32




       94.     As a direct and proximate cause of Defendants’ wrongful conduct, Plaintiff and

other members of the Class suffered damages in connection with their purchases of Charge

common stock during the Class Period.

                                 SECOND CAUSE OF ACTION
                         Violations of Section 20(a) of the Exchange Act
                                     Against All Defendants

       95.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       96.     The Defendants and/or persons under their control violated § 10(b) of the Exchange

Act and Rule 10b-5 by their materially misleading statements and omissions described above,

causing economic injury to Plaintiff and other members of the Class. The Defendants acted as

controlling persons of Charge within the meaning of § 20(a) of the Exchange Act. By virtue of

their positions as controlling persons, each of these Defendants is liable pursuant to § 20(a) of the

Exchange Act for the acts and omissions of their co-defendants in violation of the Exchange Act.

       97.     The Defendants acted as controlling persons of some or all of their co-Defendants

because they each had the capacity to control, or did actually control, their co-Defendants in their

violations of the securities laws. Each of the Defendants had direct and supervisory involvement

in the day-to-day operations of the Company and, therefore, had the power to, and did, control or

influence the business practices or conditions giving rise to the securities violations alleged herein,

and the contents of the statements which misled investors about those conditions and practices, as

alleged above.    By virtue of their high-level positions within Charge, participation in and

awareness of the Company’s operations, and intimate knowledge of the matters discussed in the

public statements filed by the Company with SEC and elsewhere and disseminated to the investing

public, Defendants had the power to influence and control, and did influence and control, directly




                                                  29
      Case 1:24-cv-04056-JMF            Document 1        Filed 05/28/24       Page 30 of 32




or indirectly, the decision-making of the Company, including the contents and dissemination of

the false and misleading statements and omissions alleged above. By reason of such conduct,

Defendants are liable pursuant to § 20(a) of the Exchange Act.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request relief and judgment, as follows:

              (a) Declaring this action to be a proper class action pursuant to Fed. R. Civ. P. 23

                  and appointing Plaintiff as the lead plaintiff and approving its selection of

                  counsel;

              (b) Awarding compensatory damages against Defendants, jointly and severally,

                  for all damages sustained as a result of Defendants’ wrongdoing, in an amount

                  to be proven at trial;

              (c) Awarding Plaintiff’s reasonable costs and attorneys’ fees; and

              (d) Awarding such other and further equitable and injunctive relief as the Court

                  may deem just and proper.

                                           JURY DEMAND

       Plaintiffs hereby demand a trial by jury as to all issues so triable.

Dated: May 28, 2024                           Respectfully submitted,

                                              By: /s/ Lawrence M. Rolnick
                                              Lawrence M. Rolnick
                                              Richard A. Bodnar
                                              Frank T.M. Catalina
                                              ROLNICK KRAMER SADIGHI LLP
                                              1251 Avenue of the Americas
                                              New York, New York 10020
                                              (212) 597-2800
                                              lrolnick@rksllp.com
                                              rbodnar@rksllp.com
                                              fcatalina@rksllp.com



                                                 30
Case 1:24-cv-04056-JMF   Document 1   Filed 05/28/24   Page 31 of 32
Case 1:24-cv-04056-JMF     Document 1       Filed 05/28/24     Page 32 of 32

           David Finkelstein Trading in Charge Enterprises, Inc.


               Date      Transaction       Quantity      Price
               5/10/2022 Buy                   2,000       3.50
               9/14/2022 Buy                     600       2.02
               9/14/2022 Buy                     597       2.02
               9/14/2022 Buy                        1      2.03
               9/14/2022 Buy                   1,802       2.02
